














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD  0314-11





	JAMES HAROLD CHENIER, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY


		

									

	Per curiam.  Keasler and Hervey, JJ., dissent. 

			Alcala, j., not participating.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
because it does not contain a complete copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals of Texas within thirty (30) days after the date of this order.



Delivered:   July 27, 2011

Do Not Publish.


